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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
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                                                                  JOHNSON & JOHNSON CONSUMER, INC.


    In re:                                                        Chapter 11

    LTL MANAGEMENT LLC, 1                                         Case No.: 21-30589

                                                                  Judge: Michael B. Kaplan
                              Debtor.

                                 PRELIMINARY INJUNCTION ORDER

           The relief set forth on the following pages, numbered two (2) and three (3), is
hereby ORDERED.




1
      The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
      501 George Street, New Brunswick, New Jersey 08933.
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        AND NOW, this ______ day of February, 2022, upon consideration of the Motion For A

Temporary Restraining Order and Preliminary Injunction, after a hearing in open court and in

accordance with the arguments set forth in the accompanying Memorandum of Law in support of

the Motion, and the Court having found as follows:

1.      Movants have shown that the Reuters news agency was improperly provided documents

        designated as “Confidential” in this proceeding, in contravention of this Court’s

        December 12, 2021 Protective Order;

2.      Immediate and irreparable harm will result to the Movants if Reuters is not enjoined from

        engaging in the complained of conduct, including, among other things, publishing any

        news reports relying on these Confidential materials;

3.      Granting the requested injunctive relief will not result in greater harm to any party or

        non-party to this proceeding than to the Movants; and

4.      Granting the requested injunctive relief is in the public interest.

     THEREFORE, it is ORDERED as follows:

1.      The Motion for Temporary Restraining Order and Preliminary Injunction is GRANTED;

2.      Reuters, and any individual or other actor acting in concert with Reuters or on its behalf,

        is hereby ENJOINED from publishing or making any other use of any materials produced

        in discovery in the above-captioned proceeding that have been designated “Confidential”;

3.      Reuters, and any individual or other actor acting in concert with Reuters or on its behalf,

        is hereby ordered to return any confidential materials related to the above-captioned

        proceeding; and




                                                  2
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4.     Each attorney who has made an appearance in the above-captioned proceeding is required

       to submit to the Court a declaration under penalty of perjury stating whether he or she

       disclosed any materials designated as “Confidential” in this proceeding to Reuters.

This Order shall remain in effect until further Order of this Court.




                                                 3
